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                             Index of Exhibits to
                  Motion to Add Additional Named Plaintiffs
                             and Amend Caption

Exhibit Description

  A     9/17/21 Letter from A. Hardy to D. Struck

  B     Declaration of Kendall Johnson

  C     Declaration of Laura Redmond

  D     Declaration of Ronald Slavin

  E     Declaration of Jason Johnson

  F     Declaration of Jonathan Gonzalez

  G     Declaration of Dustin Brislan

  H     9/27/21 Email from D. Struck to Plaintiffs’ Counsel
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                     EXHIBIT A
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                                                                                                    Director:
                                               PRISON LAW OFFICE                                    Donald Specter
                                          General Delivery, San Quentin, CA 94964
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                                                       2704
                                                    www.prisonlaw.com                               Staff Attorneys:
                                                                                                    Rana Anabtawi
                                                                                                    Laura Bixby
                                                                                                    Patrick Booth
September 17, 2021                                                                                  Steven Fama
                                                                                                    Alison Hardy
By Email Only                                                                                       Sophie Hart
                                                                                                    Jacob Hutt
                                                                                                    Rita Lomio
Dan Struck                                                                                          Margot Mendelson
Struck, Love, Bojanowski & Acedo PLC
3100 West Ray Road, Suite 300
Chandler, AZ 85226
Dstruck@strucklove.com

               Re:    Parsons v. Shinn: Plaintiffs’ Request for Stipulation Regarding Addition of
                      Named Plaintiffs

Dear Dan:

      We write to request that Defendants stipulate to the addition of six new named plaintiffs in the
Parsons case.

        Federal Rule of Civil Procedure 21 provides that “[p]arties may be dropped or added by order
of the court on motion of any party or of its own initiative at any stage of the action and on such terms
as are just.” Fed. R. Civ. P. 21. In longstanding civil rights class action cases such as this one, courts
commonly grant leave to add or substitute additional named plaintiffs pursuant to this Rule. See, e.g.,
Boudreaux v. Sch. Bd. of St. Mary Parish, 405 F. Supp. 3d 652, 664-67 (6th Cir. 2019) (granting
motion to substitute named plaintiffs in decades-old school desegregation case); Graves v. Walton
Cnty. Bd. of Educ., 686 F.2d 1135, 1138 (5th Cir. 1982) (affirming district court’s decision to allow
substitution of additional plaintiffs for original named plaintiffs in school desegregation case); Mathis
v. Bess, 761 F. Supp. 1023, 1026-27 (S.D.N.Y. 1991) (finding defendants were not prejudiced by
addition of named plaintiff in §1983 class action because new named plaintiff’s claims “arise from
the same conduct, transactions and occurrences”). 1


1
 Cf. Bain v. Cal. Teachers Ass’n, 891 F.3d 1206, 1217 (9th Cir. 2018) (explaining that in
cases where a class has been certified, courts have “authority to replace a party with a
new one once the case becomes moot”); Flores v. EP2, Inc., No. CV 09-07872 DDP
(FMOx), 2011 WL 13213898, at *1 (C.D. Cal. May 20, 2011) (“[I]n the event a named
plaintiff is no longer able to serve as a class representative, courts have granted a plaintiff leave to
substitute a new representative.”); Bowens v. Atl. Maint. Corp., 546 F. Supp. 2d
55, 76 (E.D.N.Y. 2008) (“It is settled law that once a class has been certified, the entire
action is not mooted simply because the class representative’s claim is mooted.” (citing
                                                  Board of Directors
                      Harlan Grossman, President and Treasurer  Christiane Hipps, Vice President
                            Vanita Gaonkar • Nick Gregoratos  Michael Marcum • Jean Lu
                          Claire McDonnel  Ruth Morgan  Seth Morris  Adrienne Yandell
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Dan Struck
September 17, 2021
Page 2

       Here, it is “just” under Rule 21 to add additional named plaintiffs. This is a certified class
action wherein “a controversy still exists between” the parties, and, as discussed below, the proposed
six additional named plaintiffs share the same claims and concerns about Defendants’ health care
system and conditions in isolation represented by the original named plaintiffs. See Bain, 891 F.3d at
1217; Mathis, 761 F. Supp. at 1027. In the almost ten years since we filed the complaint, seven of the
original fourteen named plaintiffs have been released or have died. We therefore request that
Defendants agree to stipulate to the addition of four named plaintiffs to the Parsons case.

        We do not believe Defendants will suffer any prejudice by the addition of new named
plaintiffs. The individuals we have identified as proposed additional class representatives—Kendall
Johnson (189644), Laura Redmond (166546), Ronald Slavin (142019), Jason Johnson (161509),
Jonathan Gonzalez (247947), and Dustin Brislan (164993), are longstanding members of the Parsons
class who have deep familiarity with the relevant issues in this case and are willing to represent the
class.

       Ms. Johnson has been incarcerated since 2004, requires medical care for, among other things,
multiple sclerosis, and has also participated in the mental health program. Ms. Redmond has been
periodically incarcerated since 2002, most recently since early 2020; she is designated seriously
mentally ill (SMI) and requires mental health care, and also requires medical care for, among other
conditions, a seizure disorder, asthma, and hepatitis C. Mr. Slavin has been periodically incarcerated
since 1999; he is classified as SMI, and diagnosed with bipolar disorder, schizophrenia, and major
depression. Mr. Johnson has been incarcerated intermittently since 2001; he is classified as SMI, and
diagnosed with major depressive disorder and bipolar disorder. Mr. Gonzalez has been periodically
incarcerated since 2009; he is classified as SMI and diagnosed with schizoaffective disorder, bipolar
type. Mr. Brislan was previously a named plaintiff in this case but was dismissed after his release
from prison; he has been re-incarcerated in ADC since 2017. He is classified as SMI and diagnosed
with schizophrenia and post-traumatic stress disorder, chronic.

       Please let us know if you have questions or concerns about this proposal. To further the
process, we have prepared a draft stipulation for your review and feedback. Thank you in advance for
your consideration of this request.


                                                         Sincerely,

                                                         /s/

                                                         Alison Hardy




Cnty. of Riverside v. McLaughlin, 500 U.S. 44, 51-52 (1991)).
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                      EXHIBIT B
     Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 6 of 34



     Victoria Lopez(Bar No. 330042)*
     Jared G. Keenan (Bar No. 027068)
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     *Admitted pursuant to Ariz. Sup. Ct. R. 38(d)
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7    Swartz, Sonia Rodriguez, Christina Verduzco,
     Jackie Thomas, Jeremy Smith, Robert Gamez,
8    Maryanne Chisholm, Desiree Licci, Joseph
     Hefner, Joshua Polson, and Charlotte Wells, on
9    behalfofthemselves and all others similarly
     situatea'
10
     [ADDITIONAL COUNSEL LISTED
11   BELOW]
12
13                            UNITED STATES DISTRICT COURT
14                                     DISTRICT OF ARIZONA
15   Victor Parsons; Shawn Jensen; Stephen Swartz;         No. CV 12-00601-PHX-ROS
     Dustin Brislan; Sonia Rodriguez; Christina
16   Verduzco; Jackie Thomas; Jeremy Smith; Robert
     Gamez; Maryanne Chisholm; Desiree Licci; Joseph        DECLARATION OF
17   Hefner; Joshua Polson; and Charlotte Wells, on         KENDALL JOHNSON
     behalf ofthemselves and all others similarly
18   situated; and Arizona Center for Disability Law,
19                       Plaintiffs,
20            v.
21   David Shinn, Director, Arizona Department of
     Corrections, Rehabilitation and Reentry; and Larry
22   Gann, Assistant Director, Medical Services Contract
     Monitoring Bureau:Arizona Department of
23   Corrections, Rehabilitation and Reentry, in their
     official capacities,
24
                         Defendants.
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1              I, Kendall Johnson, hereby swear and declare:
2              1.     I am incarcerated at ASPC-Perryville, Lumley Special Needs Unit, and my

3      ADC number is 189644. If called as a witness, I could and would testify competently to
4      the facts stated herein, all of which are within my personal knowledge.
5              2.     I am diagnosed with Multiple Sclerosis.

6              3.     I have been referred to a Multiple Sclerosis clinic, but that consult has not

7      been scheduled.
8              4.     I understand the responsibilities and am prepared to serve as a class

9      representative in this matter.
10             Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

11     is true and correct.
12
13              EXECUTED this Z., day of ~'e                   ,2021, in         E'c~t~   Arizona.

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15                                                       Ken 11 Johnson
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     Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 8 of 34




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                                              Rita K. Lomio(Cal. 254501)*
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                                               *Admitted pro hac vice
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                                              David C. Fathi(Wash. 24893)*
9                                             Maria V. Morris(D.C. 1697904)**
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                                               *Admitted pro hac vice; not admitted
15                                              in DC; practice limited to federal
                                                courts
16                                             **Admitted pro hac vice
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     Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 9 of 34




1                                             Daniel C. Barr(Bar No. 010149)
                                              John H. Gray (Bar No. 028107)
2                                             Austin C. Yost(Bar No. 034602)
                                              Karl J. Worsham (Bar No. 035713)
3                                             Kathryn E. Boughton (Bar No. 036105)
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8                                                       kwors am perkinscoie.com
                                                        kboughton perkinscoie.com
9                                                       mcolby perkinscoie.com
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10                                                      docketphx@perkinscoie.como

11                                         Attorneysfor Plaintiffs Shawn Jensen;
                                           Stephen Swartz; Sonia Rodriguez; Christina
12                                         Verduzco; Jackie Thomas; Jeremy Smith;
                                           Robert Gamez; Maryanne Chisholm;
13                                         Desiree Licci; Joseph Hefner; Joshua
                                           Polson; and Charlotte Wells, on behalfof
14                                         themselves and all others similarly situated

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                      EXHIBIT C
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                      EXHIBIT D
     Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 14 of 34



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      *Admitted pursuant to Ariz. Sup. Ct. R. 38(d)
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      Attorneysfor Plaintiffs Shawn Jensen, Stephen
7     Swartz, Sonia Rodriguez, Christina Verduzco,
      Jackie Thomas, Jeremy Smith, Robert Gamez,
      Maryanne Chisholm, Desiree Licci, Joseph
      Hefner, Joshua Polson, and Charlotte Wells, on
9     behalfofthemselves and all others similarly
      situated
10
     [ADDITIONAL COUNSEL LISTED
11   BELOW]
12
13                            UNITED STATES DISTRICT COURT
14                                      DISTRICT OF ARIZONA
15    Victor Parsons; Shawn Jensen; Stephen Swartz;         No. CV 12-00601-PHX-ROS
      Dustin Brislan; Sonia Rodriguez; Christina
16    Verduzco; Jackie Thomas; Jeremy Smith; Robert
      Gamez; Maryanne Chisholm; Desiree Licci; Joseph        DECLARATION OF
17    Hefner; Joshua Polson; and Charlotte Wells, on         RONALD SLAVIN
      behalf ofthemselves and all others similarly
18    situated; and Arizona Center for Disability Law,
19                        Plaintiffs,
20
21    David Shinn, Director, Arizona Department of
      Corrections, Rehabilitation and Reentry; and Larry
22    Gann, Assistant Director, Medical Services Contract
      Monitoring Bureau, Arizona Department of
23    Corrections, Rehabilitation and Reentry, in their
      official capacities,
24
                          Defendants.
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     Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 15 of 34




1             I, Ronald Slavin, hereby swear and declare:
2              1.    I am incarcerated at ASPC-Eyman, Cook Unit, and my ADC number is
3     142019. If called as a witness, I could and would testify competently to the facts stated
4    herein, all of which are within my personal knowledge.
5             2.     I am categorized as Seriously Mentally Ill (SMI), and have in the past been
6     diagnosed with bipolar disorder, schizophrenia, major depression, and anxiety. I am
7     prescribed mental health medications.
8              3.    Despite being prescribed these medications, I experience symptoms of
9     mental illness, including auditory hallucinations, depression, and anxiety. In October
10    2020, I asked mental health staff if I could be referred to a designated housing unit for
11    people with mental illness where I can be provided more intensive treatment and therapy.
12    The psychologist told me that I was a good candidate for the MTU program, but I have
13    not been moved.
14             4.    I understand the responsibilities and am prepared to serve as a class
15    representative in this matter.
16             Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
17    is true and correct.
18
19             EXECUTED this~day of                          , 2021,in~             C;Arizona.
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     Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 16 of 34




     ADDITIONAL COUNSEL:                       Donald Specter (Cal. 83925)*
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2                                              Sara Norman (Cal. 189536)*
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                                               David C. Fathi(Wash. 24893)*
9                                              Maria V. Morris(D.C. 1697904)*
                                               Eunice Hyunhye Cho(Wash. 53711)*
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16                                             **Admitted pro hac vice

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     Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 17 of 34



1                                              Daniel C. Barr(Bar No. 010149)
                                               John H. Gray (Bar No. 028107)
2                                              Austin C. Yost(Bar No. 034602)
                                               Karl J. Worsham (Bar No. 035713)
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                                                         kboughton perkinscoie.com
9                                                        mcolby perkinscoie.com
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11                                          Attorneysfor Plaintiffs Shawn Jensen;
                                            Stephen Swartz; Sonia Rodriguez; Christina
12                                          Verduzco; Jackie Thomas; Jeremy Smith;
                                            Robert Gamez; Maryanne Chisholm;
13                                          Desiree Licci; Joseph Hefner; Joshua
                                            Polson; and Charlotte Wells, on behalfof
14                                          themselves and all others similarly situated

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                      EXHIBIT E
     Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 19 of 34



     Victoria Lopez(Bar No. 330042)*
     Jared G. Keenan (Bar No.027068)
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     Attorneysfor Plaintiffs Shawn Jensen, Stephen
7    Swartz, Sonia Rodriguez, Christina Verduzco,
     Jackie Thomas, Jeremy Smith, Robert Gamez,
     Maryanne Chisholm, Desiree Licci, Joseph
     Hefner, Joshua Polson, and Charlotte Wells, on
9    behalfofthemselves and all others similarly
     situated
     [ADDITIONAL COUNSEL LISTED
     BELOW]
12
13                            UNITED STATES DISTRICT COURT
14                                     DISTRICT OF ARIZONA
15    Victor Parsons; Shawn Jensen; Stephen Swartz;         No. CV 12-00601-PHX-ROS
      Dustin Brislan; Sonia Rodriguez; Christina
16    Verduzco; Jackie Thomas; Jeremy Smith; Robert
      Gamez; Maryanne Chisholm; Desiree Licci; Joseph        DECLARATION OF
17    Hefner; Joshua Polson; and Charlotte Wells, on         JA50N JOHNSON
      behalf ofthemselves and all others similarly
18    situated; and Arizona Center for Disability Law,
19                       Plaintiffs,
20
21    David Shinn, Director, Arizona Department of
      Corrections, Rehabilitation and Reentry; and Larry
22    Gann, Assistant Director, Medical Services Contract
      Monitoring Bureau, Arizona Department of
23    Corrections, Rehabilitation and Reentry, in their
      official capacities,
24
                          Defendants.
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      153677325.1
     Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 20 of 34



1             I, Jason Johnson, hereby swear and declare:
2              1.    I am incarcerated at ASPC-Eyman, SMU-I Unit, and my ADC number is

3     161509. If called as a witness, I could and would testify competently to the facts stated
4    herein, all of which are within my personal knowledge.
5             2.     I am categorized as Seriously Mentally Ill (SMI), and have in the past been

6     diagnosed with major depressive disorder and paranoid schizophrenia. I am prescribed
7     mental health medications.
8             3.     I was moved to Eyman-SMU-I in October 2020 from ASPC-Florence

9     Kasson Unit.
10            4.     I understand the responsibilities and am prepared to serve as a class
11    representative in this matter.
12             Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
13    is true and correct.
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15             EXECUTED this 3 ~ day of ~v                   , 2021, in          nc    Arizona.
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      Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 21 of 34




      ADDITIONAL COUNSEL:                       Donald Specter (Cal. 83925)*
                                                Alison Hardy (Cal. 135966)*
2                                               Sara Norman (Cal. 189536)*
                                                Rita K. Lomio (Cal. 254501)*
3                                               PRISON LAW OFFICE
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6                                                         snorman~a ~risonlaw.com
                                                          rlomio@prisonlaw.com
7
                                                *Admitted pro hac vice
8
                                                David C. Fathi(Wash. 24893)*
9                                               Maria V. Morris(D.C. 1697904)*
                                                Eunice Hyunhye Cho(Wash. 53711)*
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13                                                        mmorris aclu.org
                                                         echo@ac u.org
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15                                               in DC; practice limited to federal
                                                 courts
16                                              **Admitted pro hac vice

17                                              Corene Kendrick (Cal. 226642)*
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     Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 22 of 34



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                                               Karl J. Worsham (Bar No. 035713)
3                                              Kathryn E. Boughton(Bar No. 036105)
                                               Mikaela N. Colby (Bar No. 035667)
n                                              Kelly Soldati(Bar No. 036727)
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                                            Stephen Swartz; Sonia Rodriguez; Christina
12                                          Verduzco; Jackie Thomas; Jeremy Smith;
                                            Robert Gamez; Maryanne Chisholm;
13                                          Desiree Licci; Joseph Hefner; Joshua
                                            Polson; and Charlotte Wells, on behalfof
14                                          themselves and all others similarly situated

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Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 23 of 34




                      EXHIBIT F
     Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 24 of 34



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              jkeenan@acluaz.org
      *Admitted pursuant to Ariz. Sup. Ct. R. 38(d)
6
      Attorneysfor Plaintiffs Shawn Jensen, Stephen
7     Swat~tz, Sonia Rodriguez, Christina Verduzco,
      Jackie Thomas, Jeremy Smith, Robert Gamez,
8     Maryanne Chisholm, Desiree Licci, Joseph
      Hefner, Joshua Polson, and Charlotte Wells, on
9     behalfofthemselves and all others similarly
      situated
10
     [ADDITIONAL COUNSEL LISTED
11   BELOW]
12
13                             UNITED STATES DISTRICT COURT
14                                      DISTRICT OF ARIZONA
15    Victor Parsons; Shawn Jensen; Stephen Swartz;         No. CV 12-00601-PHX-ROS
      Dustin Brislan; Sonia Rodriguez; Christina
16    Verduzco; Jackie Thomas; Jeremy Smith; Robert
      Gamez; Maryanne Chisholm; Desiree Licci; Joseph        DECLARATION OF
17    Hefner; Joshua Polson; and Charlotte Wells, on         JONATHAN GONZALEZ
      behalf ofthemselves and all others similarly
18    situated; and Arizona Center for Disability Law,
19                        Plaintiffs,
20
21    David Shinn, Director, Arizona Department of
      Corrections, Rehabilitation and Reentry; and Larry
22    Gann, Assistant Director, Medical Services Contract
      Monitoring Bureau; Arizona Department of
23    Corrections, Rehabilitation and Reentry, in their
      official capacities,
24
                          Defendants.
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1               I, Jonathan Gonzalez, hereby swear and declare:
2                1.    I am incarcerated at ASPC-Florence, Kasson Unit, and my ADC number is
3       247947. If called as a witness, I could and would testify competently to the facts stated
4       herein, all of which are within my personal knowledge.
5               2.     I am diagnosed with Schizoaffective disorder, bipolar type.
6                3.    I have been placed on suicide watch about a dozen times in the last year.
7                4.    I have been in Kasson Unit since July 2019.
8                5.    I understand the responsibilities and am prepared to serve as a class
9       representative in this matter.
10               Pursuant to 28 U.S.C. ~ 1746, I declare under penalty of perjury that the foregoing
11      is true and correct.
12
13               EXECUTED this~day of                         ~.~L021, in ~~~           ,Arizona.
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     ADDITIONAL COUNSEL:                       Donald Specter (Cal. 83925)*
                                               Alison Hardy (Cal. 135966)*
2                                              Sara Norman (Cal. 189536)*
                                               Rita K. Lomio (Cal. 254501)*
3                                              PRISON LAW OFFICE
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4                                              Berkeley, California 94710
                                               Telephone: (510)280-2621
5                                              Email: dspecter@prisonlaw.com
                                                         ahardy@ risonlaw.com
6                                                        snorman~a ~risonlaw.com
                                                         rlomio@prisonlaw.com
7
                                               *Admitted pro hac vice
8
                                               David C. Fathi(Wash. 24893)*
9                                              Maria V. Morris(D.C. 1697904)**
                                               Eunice Hyunhye Cho(Wash. 53711)*
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                                               PROJECT
11                                             915 15th Street N.W., 7th Floor
                                               Washington, D.C. 20005
12                                             Telephone: (202) 548-6603
                                               Email: dfathi~a aclu.org
13                                                      mmorris aclu.org
                                                        echo@ac u.org
14
                                               *Admitted pro hac vice; not admitted
15                                              in DC; practice limited to federal
                                                courts
16                                             **Admitted pro hac vice

17                                             Corene Kendrick (Cal. 226642)*
                                               ACLU NATIONAL PRISON
18                                             PROJECT
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19                                             San Francisco, California 94111
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20                                             Email: ckendrick@aclu.org

21                                              *Admitted pro hac vice.

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     Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 27 of 34




 1                                             Daniel C. Barr(Bar No. 010149)
                                               John H. Gray (Bar No. 028107)
2                                              Austin C. Yost(Bar No. 034602)
                                               Karl J. Worsham (Bar No.035713)
3                                              Kathryn E. Boughton (Bar No. 036105)
                                               Mikaela N. Colby (Bar No.035667)
4                                              Kelly Soldati (Bar No. 036727)
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10                                                       docketphx@perkinscoie.como

11                                          Attorneysfor Plaintiffs Shawn Jensen;
                                            Stephen Swartz; Sonia Rodriguez; Christina
12                                          Verduzco; Jackie Thomas; Jeremy Smith;
                                            Robert Gamez; Maryanne Chisholm;
13                                          Desiree Licci; Joseph Hefner; Joshua
                                            Polson; and Charlotte Wells, on behalfof
14                                          themselves and all others similarly situated

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                      EXHIBIT G
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       I, Dustin Brislan, hereby swear and declare:
       1.     I am incarcerated at ASPC-Tucson, Rincon Mental Health Unit, and my

ADC number is 164993. If called as a witness, I could and would testify competently to
the facts stated herein, all of which are within my personal knowledge.
       2.     I am categorized as Seriously Mentally Ill (SMI) both in prison and in the
community, with an assigned mental health classification of MH-4. and have in the past
been diagnosed with chronic post-traumatic stress disorder, borderline personality
disorder, mood disorder, and delusional disorder. I am currently prescribed mental health
medications. I have in the past engaged in acts of self-harm.
       3.     I was moved to Tucson Rincon Mental Health Unit from ASPC-Florence
Kasson Unit's mental health program on September 7,2021. I have a max custody security
classification.
       4.     I understand the responsibilities and am prepared to serve as a class
representative in this matter. I previously served as a class representative in this case when
it was filed in 2012, but was dismissed as a named plaintiff when I was out of ADCRR
custody.
       5.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
foregoing is true and correct.


       EXECUTED September 9, 2021, in Tucson, Arizona.


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                                              Dus n Brislan
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                      EXHIBIT H
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From:                 Dan Struck <DStruck@strucklove.com>
Sent:                 Monday, September 27, 2021 2:54 PM
To:                   Alison Hardy
Cc:                   Elaine Percevecz; Jessica Carns; Parsons Case; David Fathi; Maria Morris; Eunice Cho; Corene Kendrick;
                      Samantha Weaver; Maya Abela; Jared Keenan; Gloria Torres; Victoria Lopez; Barr, Daniel (PHX); Tim
                      Ray; Lucy Rand; mary.beke@azag.gov; StruckLoveParsonsTeam; Parsons Trial
Subject:              Re: Adding named plaintiffs


Alison,

Defendants believe that there are sufficient class reps, even given the fact that some of the original plaintiffs are no
longer class members, for plaintiffs to proceed to trial. Adding six additional class representatives on the eve of trial,
when the defendants are already being overwhelmed by plaintiffs’ discovery requests, does result in prejudice by adding
to the burden of responding to significant discovery on an abbreviated schedule, thereby increasing the burden on
defendants to mount a defense for a trial that is starting in a month. By contrast, we fail to see any prejudice at all if
plaintiffs stand pat with their current representatives.

Please feel free to give me a call if you would like to discuss further.

Dan

Sent from my iPad



          On Sep 24, 2021, at 6:21 PM, Alison Hardy <ahardy@prisonlaw.com> wrote:


          Hi Dan,

          As you know, some of the original plaintiffs aren’t in prison anymore and we want to ensure that there
          are competent representatives of the class for these proceedings. So, we are asking for a stipulation
          allowing substitution. Please let us know by Monday morning whether we can agree on this.

          Thanks,
          Alison

          Alison Hardy
          Sr. Staff Attorney
          Prison Law Office
          1917 Fifth Street
          Berkeley, CA 94710
          Office: (510) 280-2621
          Cell: (510) 292-0549
          Pronouns: She/her




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      Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 32 of 34

From: Dan Struck <DStruck@strucklove.com>
Sent: Friday, September 24, 2021 3:46 PM
To: Alison Hardy <ahardy@prisonlaw.com>; Elaine Percevecz <EPercevecz@strucklove.com>; Jessica
Carns <jcarns@aclu.org>; Parsons Case <PLO‐AZ@prisonlaw.com>; David Fathi <dfathi@aclu.org>;
Maria Morris <MMorris@aclu.org>; Eunice Cho <echo@aclu.org>; Corene Kendrick
<ckendrick@aclu.org>; Samantha Weaver <sweaver@aclu.org>; Maya Abela
<mabela@azdisabilitylaw.org>; Jared Keenan <jkeenan@acluaz.org>; Gloria Torres
<GTorres@acluaz.org>; Victoria Lopez <vlopez@acluaz.org>; Daniel Barr <DBarr@perkinscoie.com>; Tim
Ray <TRay@strucklove.com>
Cc: Lucy Rand <Lucy.Rand@azag.gov>; mary.beke@azag.gov; StruckLoveParsonsTeam
<StruckLoveParsonsTeam@strucklove.com>; Parsons Trial <ParsonsTrial@aclu.org>
Subject: RE: Adding named plaintiffs

Alison,

We aren’t really understanding the necessity of plaintiffs to add named plaintiffs on the eve of trial,
when you already have representatives for the class and subclasses who are still class members. If you
could provide further explanation as to why you folks need to be doing this, it would help inform our
position.

Dan

From: Alison Hardy <ahardy@prisonlaw.com>
Sent: Wednesday, September 22, 2021 2:54 PM
To: Elaine Percevecz <EPercevecz@strucklove.com>; Jessica Carns <jcarns@aclu.org>; Parsons Case
<PLO‐AZ@prisonlaw.com>; David Fathi <dfathi@aclu.org>; Maria Morris <MMorris@aclu.org>; Eunice
Cho <echo@aclu.org>; Corene Kendrick <ckendrick@aclu.org>; Samantha Weaver <sweaver@aclu.org>;
Maya Abela <mabela@azdisabilitylaw.org>; Jared Keenan <jkeenan@acluaz.org>; Gloria Torres
<GTorres@acluaz.org>; Victoria Lopez <vlopez@acluaz.org>; Daniel Barr <DBarr@perkinscoie.com>; Tim
Ray <TRay@strucklove.com>
Cc: Lucy Rand <Lucy.Rand@azag.gov>; mary.beke@azag.gov; StruckLoveParsonsTeam
<StruckLoveParsonsTeam@strucklove.com>; Dan Struck <DStruck@strucklove.com>; Parsons Trial
<ParsonsTrial@aclu.org>
Subject: RE: Adding named plaintiffs

Dear Dan,

Could you please let us know whether or not Defendants are willing to stipulate regarding the additional
named plaintiffs, as we proposed last Friday? I have attached the letter that we sent you last week, as
well as a proposed Stipulation and Order. We would appreciate a response by closed of business Friday,
September 24.

Appreciate your help,
Alison

Alison Hardy
Sr. Staff Attorney
Prison Law Office
1917 Fifth Street
Berkeley, CA 94710
Office: (510) 280-2621
Cell: (510) 292-0549
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      Case 2:12-cv-00601-ROS Document 4006-1 Filed 09/29/21 Page 33 of 34
Pronouns: She/her




From: Alison Hardy <ahardy@prisonlaw.com>
Sent: Friday, September 17, 2021 2:56 PM
To: 'Elaine Percevecz' <EPercevecz@strucklove.com>; 'Jessica Carns' <jcarns@aclu.org>; 'Parsons Case'
<PLO‐AZ@prisonlaw.com>; 'David Fathi' <dfathi@aclu.org>; 'Maria Morris' <MMorris@aclu.org>;
'Eunice Cho' <echo@aclu.org>; 'Corene Kendrick' <ckendrick@aclu.org>; 'Samantha Weaver'
<sweaver@aclu.org>; 'Maya Abela' <mabela@azdisabilitylaw.org>; 'Jared Keenan'
<jkeenan@acluaz.org>; 'Gloria Torres' <GTorres@acluaz.org>; 'Victoria Lopez' <vlopez@acluaz.org>;
'Daniel Barr' <DBarr@perkinscoie.com>; 'tray@strucklove.com' <tray@strucklove.com>
Cc: 'Lucy Rand' <Lucy.Rand@azag.gov>; 'mary.beke@azag.gov' <mary.beke@azag.gov>;
'StruckLoveParsonsTeam' <StruckLoveParsonsTeam@strucklove.com>; 'Dan Struck'
<DStruck@strucklove.com>; 'Parsons Trial' <ParsonsTrial@aclu.org>
Subject: Adding named plaintiffs

Dear Dan,

I’ve attached our letter requesting that Defendants stipulate to the addition of six more named
plaintiffs, as a number of the original named plaintiffs are no longer incarcerated. I look forward to
discussing with you.

Thanks,
Alison

Alison Hardy
Sr. Staff Attorney
Prison Law Office
1917 Fifth Street
Berkeley, CA 94710
Office: (510) 280-2621
Cell: (510) 292-0549
Pronouns: She/her




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Thank you.
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